                                                              SO ORDERED.

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                                                              Dated: December 7, 2018
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                                                              ______________________________________
   4 MARTIN J. MCCUE, (# 018849)                              Madeleine C. Wanslee, Bankruptcy Judge
     PATRICK F. KEERY, (# 030971)
   5
     KEERY MCCUE, PLLC
   6
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  10 PROPOSED ATTORNEYS FOR DEBTOR
  11                              UNITED STATES BANKRUPTCY COURT
  12                                 FOR THE DISTRICT OF ARIZONA
  13
        In re                                        Case No. 2:18-bk-14369-MCW
  14
        HUFFERMEN, INC.                              Chapter 11
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                        Debtor.                      ORDER: (A) AUTHORIZING PAYMENT OF
  16                                                 UNPAID PRE-PETITION WAGES,
                                                     SALARIES, REIMBURSEMENT OF
  17                                                 EXPENSES AND EMPLOYEE BENEFITS;
                                                     AND (B) DIRECTING ALL BANKS TO
  18                                                 HONOR PRE-PETITION CHECKS FOR
                                                     PAYMENT OF PRE-PETITION EMPLOYEE
  19                                                 OBLIGATIONS

  20                                                 Relates to Dkt. No. 23

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                This matter having come before the Court on Huffermen, Inc.’s (“Debtor”) Emergency
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       Motion for an Order (a) authorizing the Debtor to pay unpaid pre-petition wages, salaries,
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       reimbursement of expenses and employee benefits; and (b) directing all banks to honor pre-petition
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       checks for payment of such pre-petition employee obligations (the “Motion”), and
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                The Court being duly advised,
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                IT IS HEREBY ORDERED granting the Motion to Pay Pre-Petition wages, taxes and
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                benefits of non-Debtor employees as listed in Exhibit “A” attached hereto;
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                                                    -1-
         ORDER: (A) AUTHORIZING PAYMENT OF UNPAID PRE-PETITION WAGES, SALARIES, REIMBURSEMENT OF
                      EXPENSES AND EMPLOYEE BENEFITS; AND (B) DIRECTING ALL BANKS TO
              HONOR PRE-PETITION CHECKS FOR PAYMENT OF PRE-PETITION EMPLOYEE OBLIGATIONS
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   1
              IT IS FURTHER ORDERED that this Order does not include pre-petition vacation or
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              sick pay earned by non-Debtor employees;
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              IT IS FURTHER ORDERED that the Debtor shall immediately provide a copy of this
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       Order and Notice of such hearing to the United States Trustee, the creditor or creditors claiming
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       an interest in “cash collateral”, and the Debtors’ creditors as listed on the Master Mailing Matrix
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       on file with the Court.
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         ORDER: (A) AUTHORIZING PAYMENT OF UNPAID PRE-PETITION WAGES, SALARIES, REIMBURSEMENT OF
                      EXPENSES AND EMPLOYEE BENEFITS; AND (B) DIRECTING ALL BANKS TO
              HONOR PRE-PETITION CHECKS FOR PAYMENT OF PRE-PETITION EMPLOYEE OBLIGATIONS
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